Exhibit A
                       IN THE UNITED STATES DISTRICT COURT
                        FOR TH E EASTERN DISTRICT OF T EXAS
                                BEAUMONT DIVISION

BRETT MI CHAEL BLASIRUE                      §
    Petitioner,                              §
                                             §
v.                                           § CIVIL ACTION NO. l:16-CV-288
                                             §
                                             §
DALLAS JONES,                                §
    Respond ent.                             §

                           DECLARATION OF SH ELLE Y LACY

        In accordance with the provisions of Section 1746 of Title 28, United States Code, I, the
undersigned, Shell ey Lacy hereby make the followi ng unsworn declaration, under penalty of
perjury, pertinent to the above-styled and numbered cause:

        I . l am currently employed by the United States Government as a Discipline l Iearing
Officer (DI IO) for the f cderal Bureau of Prisons (BOP). I have been employed with the BOP
since February, 1995. J am currently assigned to the Federal Correctional Complex in
Beaumont, Texas. I became an alternate DHO in April 2008, and have been a full-time DHO
since Apri l 2013. I was duly trained and certified as a OHO by the Bureau of Prisons in
accordance with Program Statement 5270.09, lmnate Discipline and Special Housing Units,
which outlines the BOP inmate discipline program.

        2. I was asked to review the proceedings r conducted on December 11, 2014 regarding
inmate Bretl Blasirue, reg. no. 68872-097. As part of my official duties, I have access to BOP
fi les maintained in the ordinary course of business related to inmates incarcerated within the
BOP. While reviewing the matter, I identified the fo llowing documents kept in the ord inary
course of business as relevant to the issue. and have attached true and correct copies of them to
this declaration:

               I. Discipline Hearing Officer Report regarding Incident Report No. 2657863 for
                  inmate Brett Blasi rue, reg. no. 68872-097 dated January 20, 2015.

              2. Jefferson County Regional Crime Laboratory Controlled Substances Report,
                 regarding inmate Brett Blasi rue, reg. no. 68872-097 dated January 29, 2015.

              3. Inmate Di scipline Adel Hearing/Findings regard ing inmate Brett Blasiruc, reg.
                 no. 68872-097dated December 2, 2016.

              4. Sentence Monitoring Computation Data regarding inmate Brett Blasirue, reg.

                                          Page I of 3
                    no. 68872-097 dated December I, 2016.

                5. Sentence Moni loring Computation Data regarding inmate Brett Blasirue, reg.
                   no. 68872-097 dated December 2, 2016.

         3. 1 have reviewed and am familiar with the OHO Report at issue in the above captioned
civi l action involving inmate Brett Blasi rue, reg. no. 68872-097, and can state the fo llowing:
Inmate Blasirue received incident report 2657863 on December 4, 2014 alleging offense code
113, Possession of Drugs/ Alcohol. (Attachment I , p. 1) The applicable regulation and policy in
effect at the time this matter was heard was 28 C.F.R. Part 541 and Program Statement 5270.09,
Inmate Discipline and Special I lousing Units.

        4. I conducted a DHO hearing regarding incident report 2657863 on December 11,
2014. (Attachment 1, p. l) At the hearing, I reviewed the incident report which stated that on
December 4, 20 14 inmate 13lasirue was found to have on his person a small leather pouch
containing an tmidentilicd green, leafy substance. (Id. at p. 3) The staff member took the
substance to the Lieutenant's office where it was tested using a N ik Test Kit A. (Id.) The results
indicated a positive res ult for amphetamines. (Id.)

         5. After conducting the hearing on December 1 I, 20 14, I found that inmate Blasi rue had
committed a prohibited act, Possession of Drugs/ /\lcohol , in violation of BOP disciplinary code
113. (Id.) Inmate Blas irue received the following sanctions: disallowance of 4 1 days of good
conduct time (GCD; 30 days of disciplinary segregation, 180 days loss of commissary
privi leges, and 180 days loss of visitation privil eges. (Id.)

        6. Unbeknownst to this officer, the substance was submitted by another staff member to
the Jefferson County Regional Crime Laboratory for further testing on January 20, 2015.
(Attachment 2) On January 29, 20 15, the Jefferson County Regional Crime Laboratory issued a
lab report indi cating that the tested substance did not contain any identifiable controlled
substance or dangerous drug. (Id.) I was not informed that further testing had occurred or of the
test results, and as the DI IO hearing had already been held, there was no further review of this
incident at that lime.

        7. On December l , 2016, I was informed that inmate B lasirue had filed a Habeas action.
I was provided a copy or the Jefferson County Regional Crime Laboratory report relating to this
case on that date. Because the report contradicted the finding at the OHO hearing, I expunged
incident report 2657863 from imnate Blasirue's disciplinary record on December 2, 2016.
(Attachment 3) As a result or the expungcmcnt, inmate Blasirue has had the 41 days of GCT
restored as of December 2, 20 l 6. (See Attachments 4 & 5) Prior to the expungment of the
incident report on December 2,2016, inmate Blas irue's projected release date was calculated to
be June 25, 2019. (Attachment 4, p. 2) /\s a result of the expungement, inmate Blasirue's new
projected release date is May 20, 20 19. (Attachment 5, p. 2)

I declare, under penalty of peijury, pursua nt to 28 U.S .C. § 1746, that the foregoing is true and
correct to the best of my knowledge.



                                             Page 2 of 3
thi s   _j_ day of ~    , 2016




                  Page 3 of3
Attachment 1
     DISCIPLINE HEARING OFFICER REPORT                                                       BP-S30S.OS2 MAY 94
     U.S. DEPARTMENT OF JUSTICE                                                    FEDERAL BUREAU OF PRISONS
                                                     AMENDED
     INSTITUTION       PCC :BeaumoJ>t Me~um                INCl'.DBNT REPORT NUMBER                   265786.3

     INMATE N7\ME      Blasirue, Brett                     REG NO         I   68!372-09?    I UNIT    KB

     DATE OF INCIDENT         / 12-04-2014                 DATE OF INCIDENT REPORT                    12-04-2014
 OFFENSE CODE(S)                    113

 SUMMARY OF CRARGES                 Possession of any Narcotics, Marijuana, Drugs, Alcohol,
                                    Intoxicants or Related Paraphernalia not Prescribed for the
                                    Individual by the Medical Staff
 I.      NOTICE OF CHARGE(S)
 A. Advanced written noti ce of charge (copy of Incident Report) was given to i runate
                                                                                       on
     (date)    12-04 - 2014        at (time)       8:25             (by staff member!       D. Hadnot

 B. The DHO Hearing was held on (date)                     12-11-2014          •                     0825
 C. The irunate was advised of his/her rights before the-OHO by (staff member)
 s.    Allen                                       on (date)               12-5-2014                 and a copy

 of the advisement of rights form is attached.
 XI.     STAPF   RDUSDTATIVI!:

 A. I11111ate waived right to staff representative.                    I   Y~s:     I   X        J No:            I
 B. Inmate requested staff representative and                                                               aoppeared.
C . Requested staff representative declined or could not
                                                         appear but inmate was advised of
option to postpone hearing to obtain another staff representative with the result
N/A
D. Staff representative
                                               I     N/A                                         I was appointed. ·
B. Staff representative Statement:             N/A
r:n.      PRBSDTATIOX OF irv:mDCB
A.    Inmate         ADMITS    I     NEITHER   I xi the charges.
B. Summary of inmate statement:
                                                              \
                                                                              '

IJll'llate stated, "decline to make a statement.
                                                 "
1. The irunate requested witness(ee).
                                                                      I   Ye~:
                                                                                   I            j No:             Ix
2. The following persons wer e called as .witnesses at this hearing and appeared .
                                                                                   (I.nclude
each witnesses' name, title, reg number and statement as appropriate.)
N/A

3.    The following persons requested were not called for the reason(s} given:
                                                   Page 1 of 4




                                                           ...- .    ···---.·
DISCIPLINE HEARING OFFICER REPORT                                          BP-8305.052 MAY 94
U.S. DEPARTMENT OF JUSTICE                                       FEDERAL BUREAU OF PRISONS
                                                AMENDED
N/A                                                 .
4. on.available witnesses were requested to submit written          Yes         No        N/A   X
statements and thoee statements received were considered.
D. Documentary Evidence: In addition to the Incident Report and Investigation, the DHO .
considered the following documents:
     1. Photo
     2. Chain of custody Log


E. Confidential information wae used by OHO ~n support of his findings, but was not
revealed to the inmate. The confidential information was documented in a separate
report. The confidential information has been (confidential informants have been)
determined to be reliable because: N/A.


IV. l"DmDIQS 07 '1'B'I D110

 X     A. The act was committed as charged.

       B. The following act was committed:              I
       C. No prohibited act was committed: Expunge according to Inmate Discipline PS .
v.   SPBCIFIC BVll>KNCB RELIED 0111   ro   SUP~1' 1'IHD~S (Pbyaical avidenc•, obaervation.a,
written documents, etc.)




                                               Page2 of 4
  DISCIPLINE HEARING OFFICER REPORT                                              BP-S305.0S2 MAY 94
  U.S. DEPARTMENT OF JUSTICE                                           FEDERAL BUREAU OF PRISONS
                                                      AMENDED
  The inmate's due process rights were read ~d reviewed by the DHO to the inmate. The OHO
  confirmed the inmate received a copy of the incident report, did not want a staff
  representative, did not want witnesses, and had no documentary evidence to present. The
  inmate understood his due process rights and was ready to proceed with the disciplinary
  process.

  The OHO finds that inmate Blasirue, Brett, Regis ter 68872-097, was in Possession of any
  Narcotics, Marijuana , Drugs, Alcohol, Intoxicants or Related Paraphernalia not Prescribed
  for the Individual by the Medical Staff in violation of code 113.    The DHO relies upon
  the reporting officer's eyewitness statement; On 12-04-:2014 at approximately 6:15 p.m.,
  while conducting a pat search on irnnate Blasirue, Brett Reg. 68972-097 on the compound in
  front of recreation, I discovered that he had a brown leather bag tied to a lanyard
  around his neck. upon further investigation, I found that the bag was filled with an
  unidentified green leafy oubstance.   I took the substance to the lieutenant's office
  where i t was tested by the Operations LT using the "Nik Test Kit A" in which it tested
  positive for Amphetamine .

  The DHO draws adverse inference towards the inmate for declining to address the charg~.

 Based upon these facts, the IJHO is convinced that inmate Blasirue, Brett, Regiater Number
 68872 - 097 was in Possession of any Narcotips, Marijuana, Drugs, Alcohol, Intoxicants or
 Related Paraphernalia not Prescribed for the Individual by tbe Medical Staff in violation
 of code 113. The OHO based her decision on the greater weight of the evidence. The
 officer fowld a bag was filled with an unidentified green leafy substance. The DHO finds
 the reporting staff to be credible, with no reason to falsely accuse the inmate. You di d
 not provide any evidence to refute the charge. . Possession of any Narcotics, Marijuana,
 Drugs, A1cohol, Intoxicants or Related Paraphernalia not Prescribed for the Individual by
 the Medical Staff is not warranted nor will it be tolerated in th.is secure envirorunent.

 VJ:. SAHC'.l'l:ON OR AC'l':tON TAltZN

Disallow Good Conduct Time                41 days                Suspended    Yes         No    X

~orfeit Non-Vested GCT                                          Suspended     Yes         No
Disciplinary Segregation                  30   days             Suspended     Yes        No     X

!Loss of Commissary Privileges           l.80 days              suspended     Yes        No     X

i.,08S   of Telephone Privileges                                suspended     Yes        No
l.,OSS   of Visitation Privileges        1.so days              Suspended     Yes        No     X

ILoss of Email Privileges                                       suspended     Yes        No

Previously suspended sanction being
executed

Recommendation by the DHO: N/A
                                                       Yes
                                                               I INo
                                                                        I
                                                                             Repo:rt #




VI:t. RBASoB 1'0Jl SANCTION Olt ACTJ:ON Tll.KR ,

The sanctions are for the expr ess purpose of holding you accountable for violating the
rules and to deter you, and others, from this type of misconduct in the future. The
disallowance of Good Conduct Time was u sed to comply with mandatory sanctioning.
guidelines for a PLRA sentenced inmate. The other sanctions are for the express purpose
of holding you accountable and to deter you from this type of misconduct in the future .
                                                 Page 3 of 4
DISCIPLINE HEARING OFFICER REPORT                                             BP-S305.0S2 MAY 94
U.S. DEPARTMENT OF JUSTICE                                          FEDERAL BUREAU OF PR1SONS
                                              AMENDED
vz:r:r. APPEAL IUGBTS: The   imn.at• ha• .b••n -.c!v.t.aed oft.ho fi.D<li.ngo,
                                                                      apoc.i.fi.c evidence
 relied oa, action and re . .oau, for the action. The inmate hae b••n adviaed of hi• right
 to appeal thi• actiOll within 20 c&lendar days under tlul Adllliui•trative aem-4y Procedure •
.A copy of thi• report has been given to th• illlll4te.

                                                          Yes       x   No

IX. DISCULXNB JUAJlDIG OFPJ:CD

         Printed Name of DHO                                                                  Date
S. L. Lacy                                                                              l/20/201S

 Report delivered to inmate :

(This form may be replicated in WP)                                          laces BP-304( 52 ) of JAN 88




                                                  .   .
                                                  •
                                                   "




                                             Page 4 of 4
Attachment 2
           JEFFERSON COUNTY REGIONAL CRIME LABORATORY
                                    Controlled Substances Report


      5030 Highway 69 South                                                             Phone (409) 726-2577
           Suite 500                                                                     FAX: (409) 726-2576
   Beaumont. Texas 77705-9630                                                       www. co.jefferson. tx.us/crimelab


REPORT DATE: 1/29/2015                                             LABORATORY NO.: RCL-15-097437

AGENCY:      Federal Bureau of Prisons                             COUNTY: Jefferson

CASE NO.: BMM-15-0083                                              OFFENSE DATE :           12/4/2014
SUSPECT(S):      Blasire, Brett


On 1/20/2015, William Plake of the Federal Bureau of Prisons submitted the following evidence:

    EXHIBIT 001 - Plant material.

      Negative, net. 0.0112 (+/- 0.0002) oz, at a coverage probability of 99.73%.
        No controlled substance or dangerous drug identified.




 [m~~~
EMILY ESQUIVEL
Forensic Scientist IV




                                                    Page 1 of 1
Attachment 3
  PD12                                                                                                      Page 1 of 1


     BMMGW             *                     INMATE DISCIPLINE                             *            12-02 - 2016
   PAGE 001 OF 001 *                       ADD HEARING/ FINDINGS                           *            08:36:23


   REGISTER NO.: j68872-097               NAME .. : jBLASIRUE                              REPORT NO: j2657863
   FUNCTION .. . . : jAoo                 HEARING DATE/TM: j12-02-2016 j0834               HEAR TYPE: jDHO
   UDC/CDC LOC.:                          OHO/CHAIRPERSON: js. L. LACY                     HEAR FACL : jBMM
  AVAIL SGT ... :   r--                   AVAIL GCT ... . .. :   rs:;r                     REHEARING: jY
   STATUS ... . . . : !EXPUNGED           AVAIL NVGCT . ... :    I                         ABSENTIA . :     fN
   REPORT RMKS.( jDHO EXPUNGED I/R DU E TO INSUFFICIENT EVIDENCE TO SUPPORT                                 )
                  ( ~HE CHARGE OHO RECI EVED OUTSIDE LAB RESULTS.                                           )
  ACT :   r-                                                  FREQ:      I         I
                                                                             ATI . :           RFP. :   I
          SANC:                  AMT:                     I                  CS/CC: I          SUSP :   I       DAYS
          CMP: jLAW:        I   RMK: (                                                                                  )
                                      (                                                                                 )

          r-                                                             I
                                                                                                        '
  ACT :                                                       FREQ:          ATI . : jRFP. :
          SANC:                  AMT :                    I                  CS/CC:    I       SUSP: jDAYS
          CMP : jLAW:       I   RMK: (                                                                                 )
                                      (                                                                                )
          r-                                                             I
                                                                                                        '
  ACT:                                                        FREQ:          ATI.: j           RFP.:
          SANC:                  AMT:                     I                  CS/CC:    I       SUSP : jDAYS
          CMP: jLAW:        I   RMK : (                                                                                )
                                      (                                                                                )


  GOOOS           TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESIRED




httos://boo.tco.doi.gov:9049/SENTR Y/JlPPD20.do                                                             12/2/2016
Attachment 4
   BMAAW 540*23 *                                     SENTENCE MONITORI NG                      *        12 - 01 - 2016
 PAGE 001       *                                       COMPUTATI ON DATJ\                      *        14:48: 5 0
                                                        AS OF 12-01 - 201 6

REGNO .. : 68872 - 097 NAME: BLJ\SIRUE, BRETT MICHAEL


FBI NO ...........              :                                         DATE OF BIRTH: ~          L978      AGE:        38
ARSl .............              : EMM/A-DES
UNIT .............              : K                                       QUARTERS ..... : K0 3 -J 02L
DETAINERS ...... . .            : NO                                      NOTIFICATIONS: NO

HOME DETENTION ELIGIBILITY DATE: 12 - 2 5- 2018

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE ' S CURRENT COMMITMENT .
THE INMATE IS PROJECTED FOR RF.LEASE: 06 - 25-2019 VIA GCT REL


-- ---- ---- ------ - -- --- CURRENT JUDGMENT/WARRANT NO: 010 -- - - - ----- ---- --- - ---- --

COURT OF JURISDICTION ........... :                             CALIFORNIA, EASTERN DISTRICT
DOCKET NUMBER ................... :                             2:12CR00261 -0l
JUDGE . . . . . . . . . . . . . . . . . . . . . . . . . . . :   ENGLAND, JR.
DATE SENTENCED/PROBATION IMPOSED:                               10 - 24 - 20 13
DATE COMMITTED . . . . . . . . . . . . . . . . . . :            11-29-2013
HOW COMMITTED ....... . ........... :                           US DISTRICT COURT COMMITMENT
PROBATI ON IMPOSED ............... :                            NO

                               FELONY ASSESS               MISDMNR ASSESS FINES                  COSTS
NON- COMMITTED.:               $1CO.OO                     $00.00         $00 . 00              $00.00

RESTITUTION ... :              PROPERTY:           NO      SERVICES:    NO           AMOUNT :   $00. 00

- ----- --- ----- --- ---- - --CURRENT OBLIGATlUN NO: 010 - ---- --- --- - - -- - - ----- -- ---
OFFENSE CODE .... : 136
OFF/CHG: 18 USC 922 (G) FELON I N POSSESSION OF A FIREARM

 SENTENCE PROCEDURE ............. : 3559 PLRA SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE .:         94 MONTHS
 TERM OF SUPERVISION ..... . ...... :      36 MONTHS
 DATE OF OFFENSE ... . ............ : 06 - 30 - 2012




G0002                MORE PAGES TO FOLLOW . . .
  BMAAW 540*23 *                                 SENTENCE MONITORTNG                  *     12-01 2016
PAGE 002 OF 002 *                                  COMPUTATION DATA                   *     14:48:50
                                                   AS OF 12-01-2016

REGNO . . : 68872-097 NAME: BLASIRUE, BRETT MICHAEL


----------- -- -- - -------- -CURRENT COMPUTATION NO: 010 --------------- -- ------- --

COMPUTATION 010 WAS LAST UPDATED ON 12 - 12 -20 14 AT DSC AUTOMATICAT,LY
COMPUTATION CERTIFIED ON 12 - 12-2013 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 010 010

DATE COMPUTATION BEGAN ..........                     : 10-2~ - 2013
TOTAL TERM IN EFFECT ..... .. .....                   :    94 MONTHS
TOTAL TERM IN EFFECT CONVERTED ..                     :     7 YEARS      10 MONTHS
EARLIEST DATE OF OFFENSE ........                     : 06-30-2012

JAIL CREDIT . . . . . . . . . . . . . . . . . . . . . :     FROM DATE    THRO DATE
                                                            06-30-2012   10-23-2013

TOTAL PRIOR CREDIT TIME ......... :                       481
TOTAL INOPERATIVE TIME .......... :                       0
TOTAL GCT EARNED AND PROJECTED .. :                       309
TOTAL GCT EARNED ...... ... . ...... :                    148
STATUTORY RELEASE DATE PROJECTED:                         06-25-2019
EXPIRATION FULL TERM DATE ... ... . :                     04-29 -20 20
TIME SERVED . . . . . . . . . . . . . . . . . . . . . :        4 YEARS   5 MONTHS         4 DAYS
PERCENTAGE OF FULL TERM SERVED .. :                         56.4

PROJECTED SATISFACTION DATE ..... : 06-25 - 20 1 9
PROJECTED SATISFACTION METHOD ... : GCT REL

REMARKS ... .... : 01-24-2014, 12-12 - 14 DIS GCT UPDTD.




sooss              NO PRIOR SENTENCE DATA EXISTS FOR THIS INMATE
Attachment 5
   BMAAW 540* 2 3 *                     SENTENCE MONI TORI NG                       *     1 2 - 02 - 20 1 6
 PAGE 002 OF 002 *                        COMPUTATION DATA                          *     1 0:0 2 :0 7
                                          AS OF 1 2 -02-2016

 REGNO .. : 68872-097 NAME : BLASIRUE, BRETT MICHAEL


 - -- - -- - - ----- -- -- --------CURRENT COMPUTATION NO: 010 --------------- --- - -------

COMPUTATION 010 WAS LAST UPDATED ON 12 - 02-2016 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 12- 1 2-20 1 3 BY DESIG/SENTENCE COMPUTAT ION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLI GATI ONS ARE I NCLUDED I N
CURRENT COMPUTATION 010: 0 1 0 010

DATE COMPUTATION BEGAN .. . ... . ...       : 1 0-24-2013
TOTAL TERM I N EFFECT ...... . . . . ..     :     94 MONTHS
TOTAL TERM IN EFFECT CONVERTED ..           :      7 YEARS         10 MONTHS
EARLI EST DATE OF OFFENSE . . .. . . ..     : 06-30 - 20 1 2

JAIL CREDIT . ... . . .. ..... ... ... .. :         FROM DATE      THRU DATE
                                                    06-30-20 1 2   10- 23 - 20 13

TOTAL PR I OR CREDIT TIME . ....... . :         481
TOTAL I NOPERATIVE T IME . .. .... . .. :       0
TOTAL GCT EARNED AND PROJECTED .. :             345
TOTAL GCT EARNED .. ..... .... ... . . :        1 89
STATUTORY RELEASE DATE PROJECTED:               05-20 - 2019
EXPIRATION FULL TER~ DATE .. .... . :           04 - 29 - 2020
TIME SERVED . .. . . .. . ... .. .. ... ... :         4 YEARS       5 MONTHS            5 DAYS
PERCENTAGE OF FULL TERM SERVED .. :               56.5

PROJECTED SATISFACTION DATE .. .. . : 05-20 - 20 1 9
P ROJECT ED SATI SPACTION METHOD . . . : GCT REL

REMARKS .. ..... : 0 1 -24-20 1 4, 12 - 12 - 14 DIS GCT UPDTD.
                   12 - 02- 1 6 : DEL DIS GCT P/CDK




sooss          NO PRIOR SENTENCE DATA EXISTS FOR THIS INMATE
  BMMGW 542*22 *                            SENTENCE MONITORING                *          12-02 - 2016
PAGE 001 OF 001 *                             GOOD TIME DATA                   *          09:19:43
                                             AS OP 12-02-2016

REGNO . . . : 68872-097             NAME: BLASIRUE, BRETT MICHAEL
ARS 1 .. . : BMM A- DES                                                      PLRA
COMPUTATION NUMBER .. :        010                                    PRT     ACT OT:
LAST UPDATED: DATE.:           12-02 - 2016                 FACL .. : DSC        CALC:      AUTOMATIC
UNIT ... . ....... ... .. :    K                            QUARTERS . .. . ........ :      K03-102L
DATE COMP BEG I NS . . .. :    10-24-2013                   COMP STATUS . . . . ..... :     COMPLETE
TOTAL JAIL CREDIT .. . :       481                          TOTAL INOP TIME .. . .. :       0
CURRENT REL OT . .... . :      10-23-2019 WED               EXPIRES FULL TERM DT:           04-29 - 2020
PROJ SATISFACT DT ... :        05-20-2019 MON               PROJ SATISF METHOD .. :         GCT REL
ACTUAL SATISFACT OT .:                                      ACTUAL SATISF METHOD:
DAYS REMAINING .. .. .. :                                   FINAL PUBLC LAW DAYS:
GED PART STATUS ... .. :                                    DEPORT ORDER DATED . . :

- ----- - ------ - - -------- ----GOOD CONDUCT TIME AMOUNTS---- - - - ---- --- ---- --- - - - ---

    START            STOP             MAX   POSSIBLE TO     ACTUAL TOTALS          VESTED      VESTED
   DATE              DATE             DIS     FFT          DIS   FFT               AMOUNT       DATE
 06-30-2012       06 - 29 - 2013       54      54
 06-30-2013       06 - 29 - 20 14      54      81           27
 06-30-2014       06 - 29 - 2015       54     135
 06 - 30-2015     06 - 29-2016         54     189
 06 - 30-2016     06 - 29-2017         54
 06-30-2017       06 - 29 - 2018       54
 06-30 - 2018     05-20 - 2019         48

        TOTAL EARNED AMOUNT ........ . . . ....... .... ....... . . . .. .... . . .. :         189
        TOTAL EARNED AND PROJECTED AMOUNT .. ..... ........ . ............ :                   345




G0005           TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESIRED
Exhibit B
Perez v. Director, TDCJ-CID, Not Reported in F.Supp.2d (2012)
2012 WL 5594613

                                                               number 20090288740 wherein petitioner was found guilty
                                                               of possession of contraband, a cell phone and charger,
                  2012 WL 5594613
                                                               in violation of Texas Penal Code 10.0. Petitioner lost
    Only the Westlaw citation is currently available.
                                                               500 days of good-time credit and his line-class status was
             United States District Court,
                                                               reduced from S3 to L1.
                     E.D. Texas,
                 Beaumont Division.
                                                               Petitioner filed his petition for habeas corpus relief
                 Jarrette Jerry PEREZ                          pursuant to 28 U.S.C. § 2254 on January 12, 2010. 1
                           v.                                  Petitioner contests the disciplinary conviction arguing his
                DIRECTOR, TDCJ–CID.                            due process rights were violated and seeks the restoration
                                                               of his good conduct time and his original line class status.
               Civil Action No. 1:10–CV–20.                    In the answer filed by respondent, respondent concedes
                              |                                petitioner is eligible for mandatory supervision. Based on
                        Oct. 9, 2012.                          the information provided by petitioner, however, he was

Attorneys and Law Firms                                        released from custody in October of 2010. 2

Jarrette Jerry Perez, Houston, TX, pro se.

Gretchen Berumen Merenda, Attorney General's Office,                                    Analysis
Austin, TX, for Director.
                                                               Mootness is a jurisdictional matter implicating the
                                                               requirement in Article III of the Constitution that there
                                                               be a live case or controversy. Bailey v. Southerland,
      REPORT AND RECOMMENDATION OF                             821 F.2d 277, 278 (5th Cir.1987) (per curiam). In the
      UNITED STATES MAGISTRATE JUDGE                           context of a federal petition for habeas relief, dismissal
                                                               is appropriate on the ground of mootness when relief
ZACK HAWTHORN, United States Magistrate Judge.
                                                               sought by a petitioner is no longer available. See
 *1 Petitioner, Jarrette Jerry Perez, formerly an inmate       Bagwell v. Dretcke, 376 F.3d 408, 412 (5th Cir.2004)
confined at the Mark Stiles Unit with the Texas                (discussing habeas petition where petitioner was no
Department of Criminal Justice, Correctional Institutions      longer in custody) (citations omitted); Schlang v. Heard,
Division, proceeding pro se and in forma pauperis, filed       691 F.2d 796, 799 & n. 6 (5th Cir.1982) (per curiam)
this petition for writ of habeas corpus pursuant to 28         (habeas petitioner challenging extension of jail time was
U.S.C. § 2254.                                                 moot because petitioner had been released) (citations
                                                               omitted). Accordingly, the Fifth Circuit has recognized
The above-styled action was referred to the undersigned        that a habeas petition seeking only the expungement of
Magistrate Judge pursuant to 28 U.S.C. § 636 and the           disciplinary reports and restoration of good-time credits
Local Rules for the Assignment of Duties to the United         is mooted upon the petitioner's release to mandatory
States Magistrate Judge for findings of fact, conclusions of   supervision. See Bailey, 821 F.2d at 278–279; Adair v.
law, and recommendations for the disposition of the case.      Dretcke, 150 F. App'x 329, 331–32 (5th Cir.2005) (citing
                                                               Bailey ).

                                                               Nowhere in petitioner's complaint or response brief
                       Background                              does petitioner specify he will suffer from collateral
                                                               consequences associated with the disciplinary proceeding,
Petitioner pled guilty to the offense of burglary of a
                                                               and the Fifth Circuit has determined that no such
habitation with the intent to commit theft in the 262nd
                                                               consequences exist. See Adair, 150 F. App'x at 332 (finding
District Court of Harris County, Texas and punishment
                                                               that under Texas law, good time credits do not carry over
was assessed at forty-five (45) years confinement. The
                                                               to a subsequent confinement) (citations omitted). Because
State of Texas v. Jarrette Jerry Perez, Cause No. 610455.
                                                               petitioner has been released to mandatory supervision,
In the present case, petitioner contests disciplinary case
                                                               this Court cannot grant habeas relief. It is, therefore,


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respectfully recommended that this petition be dismissed
                                                                   Failure to file written objections to the proposed findings
as moot.
                                                                   of facts, conclusions of law and recommendations
                                                                   contained within this report within fourteen (14) days after
                                                                   service shall bar an aggrieved party from de novo review by
                     Recommendation                                the district court of the proposed findings, conclusions and
                                                                   recommendations and from appellate review of factual
 *2 For the reasons stated above, it is recommended that
                                                                   findings and legal conclusions accepted by the district
this petition for writ of habeas corpus filed pursuant to 28
                                                                   court except on grounds of plain error. Douglass v. United
U.S.C. § 2254 be dismissed without prejudice as moot.
                                                                   Services Automobile Association, 79 F.3d 1415, 1417 (5th
                                                                   Cir.1996) (en banc); 28 U.S.C. § 636(b)(1); FED. R. CIV.
                                                                   P. 72.
                        Objections

Within fourteen (14) days after receipt of the Magistrate          All Citations
Judge's report, any party may serve and file written
objections to the findings of facts, conclusions of law and        Not Reported in F.Supp.2d, 2012 WL 5594613
recommendations of the magistrate judge. 28 U.S.C. §
636(b)(1)(c).


Footnotes
1      A pro se prisoner's habeas petition is deemed filed, for purposes of determining the applicability of the AEDPA, when
       he delivered the papers to prison authorities for mailing. Cousin v. Lensing, 310 F.3d 843, 847 (5th Cir.2002); Spotville
       v. Cain, 149 F.3d 374, 375 (5th Cir.1998).
2      Petitioner filed a notice of change of address from the Mark Stiles Unit to a residential address in Houston, Texas.


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Exhibit C
Hutcherson v. JPMorgan Chase Bank, N.A., Not Reported in F.Supp.2d (2012)
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                                                                 Plaintiff alleges that Defendant improperly force-placed
                                                                 insurance on her property, breaching its duty to her.
     KeyCite Yellow Flag - Negative Treatment                    She further alleges that Defendant has harassed her by
Distinguished by Neel v. Fannie Mae, S.D.Miss., March 12, 2014
                                                                 sending collection letters, monthly statements, and default
                   2012 WL 37393
                                                                 notices. She contends that Defendant intended to drive
    Only the Westlaw citation is currently available.
                                                                 up her monthly payment so that she would be unable
             United States District Court,
                                                                 to make the payments so that it could foreclose on
                   S.D. Mississippi,
                                                                 her property. She alleges that these actions constituted
                Hattiesburg Division.
                                                                 an “attempted improper foreclosure.” Finally, Plaintiff
                                                                 contends that Defendant breached its duty of good faith
      Sasha Lynn Spiers HUTCHERSON, Plaintiff
                                                                 and fair dealing. She requests an accounting of the
                         v.
                                                                 escrow account, monetary damages in an amount equal
     JPMORGAN CHASE BANK, N.A., Defendant.
                                                                 to all economic loss caused by Defendant's conduct,
          Civil Action No. 2:11–CV–154–KS–MTP.                   compensatory damages, punitive damages, and fees.
                               |
                        Jan. 6, 2012.
                                                                                      II. DISCUSSION
Attorneys and Law Firms
                                                                                         A. Mootness
Lawrence E. Abernathy, III, Attorney, Laurel, MS, for
                                                                 First, Defendant argues that this case should be dismissed
Plaintiff.
                                                                 because all of Plaintiff's claims are moot. “Under Article
Mark H. Tyson, McGlinchey Stafford, PLLC, Jackson,               III of the U.S. Constitution, a federal court may
MS, for Defendant.                                               adjudicate only ‘cases' or ‘controversies.’ Such a case or
                                                                 controversy must exist throughout the litigation; in other
                                                                 words, the case cannot be moot.” Sandoz v. Cingular
                                                                 Wireless LLC, 553 F.3d 913, 915 (5th Cir.2008) (citation
      MEMORANDUM OPINION AND ORDER
                                                                 and punctuation omitted). If a case is or becomes moot,
KEITH STARRETT, District Judge.                                  then the Court has no authority to render a decision in it.
                                                                 Id. “In general, a matter is moot for Article III purposes
 *1 For the reasons stated below, the Court grants in part       if the issues presented are no longer live or the parties lack
and denies in part Defendant's Motion to Dismiss [3], and        a legally cognizable interest in the outcome. To have a
it grants the parties' Joint Motion to Transfer Venue [12].      legally cognizable interest in the outcome, a plaintiff must
                                                                 demonstrate an injury traceable to the defendant that is
                                                                 susceptible to some judicial remedy.” LULAC v. City of
                                                                 Boerne, 659 F.3d 421, 435 (5th Cir.2011) (citations and
                      I. BACKGROUND
                                                                 punctuation omitted).
This case involves the forced-placement of insurance
on a property secured by a mortgage. Plaintiff, the              As Defendant's mootness argument implicates the Court's
mortgagor, alleges that she had already obtained sufficient      subject matter jurisdiction over the instant case, it is
insurance coverage on the subject property, but that             properly raised in a motion to dismiss pursuant to Federal
Defendant, the mortgagee, force-placed insurance on the          Rule of Civil Procedure 12(b)(1). See FED.R.CIV.P. 12(b)
property regardless. The premium for the force-placed            (1). “A trial court may find that subject matter jurisdiction
insurance created an escrow shortage, which, in turn,            is lacking based on (1) the complaint alone; (2) the
caused Plaintiff's monthly mortgage payment to increase.         complaint supplemented by undisputed facts evidenced
Plaintiff alleges that she continued to make her monthly         in the record; or (3) the complaint supplemented by
payments, but that Defendant nonetheless threatened to           undisputed facts plus the court's resolution of disputed
initiate foreclosure proceedings.                                facts.” Wolcott v. Sebelius, 635 F.3d 757, 762 (5th
                                                                 Cir.2011) (punctuation omitted). “The party asserting
                                                                 jurisdiction bears the burden of proof on a 12(b)(1) motion



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to dismiss.” Life Partners, Inc. v. United States, 650 F.3d     level.” Id. (punctuation omitted). “The complaint need
1026, 1029 (5th Cir.2011).                                      not contain detailed factual allegations, but must state
                                                                more than mere labels and conclusions, and a formulaic
 *2 Defendant argues that Plaintiff's claims are moot           recitation of the elements of a cause of action will not do.”
because it already applied credits to Plaintiff's escrow        PSKS, Inc. v. Leegin Creative Leather Prods., Inc., 615
account equal to all the force-placed insurance premiums.       F.3d 412, 417 (5th Cir.2010) (punctuation omitted). When
Plaintiff denies this, arguing that Defendant has not           determining whether a plaintiff has stated a valid claim for
refunded all of the insurance premiums it charged to her        relief, the Court must “accept all well-pleaded facts as true
escrow account.                                                 and construe the complaint in the light most favorable to
                                                                the plaintiff.” Great Lakes Dredge & Dock Co. LLC, 624
Neither party has provided the Court with adequate              F.3d at 210. However, the Court will not accept as true
briefing on this issue. Although the parties have               “conclusory allegations, unwarranted factual inferences,
presented the Court with a variety of escrow statements,        or legal conclusions.” Id. Legal conclusions may provide
loan statements, and other documents related to the             “the complaint's framework, [but] they must be supported
transactions of which Plaintiff complains, neither party        by factual allegations.” Ashcroft v. Iqbal, 129 S.Ct. 1937,
has provided the Court with a clear and concise                 1940, 173 L.Ed.2d 868 (2009). A plaintiff must provide
explanation of each credit and debit flowing in and out         more than “threadbare recitals of a cause of action's
of the escrow account over the time period relevant             elements, supported by mere conclusory statements,
to Plaintiff's claims. The pertinent documents span the         which do not permit the court to infer more than the
course of a couple of years, and although the Court can         mere possibility of misconduct.” Hershey, 610 F.3d at 246
identify many of the credits and debits flowing in and          (punctuation omitted).
out of the account, there are some entries which were
not explained or addressed in the parties' briefing. That        *3 An accounting is a “detailed statement of the debits
being the case, the Court does not believe it would be          and credits between parties arising out of a contract
prudent to dismiss Plaintiff's case without first receiving,    or a fiduciary relation. It is a statement in writing of
at the very least, a full explanation of each transaction       debts and credits or of receipts and payments.” State
in the escrow account during the time period in question.       ex rel. King v. Harvey, 214 So.2d 817, 819 (Miss.1968).
Accordingly, the Court presently denies this aspect of          A claim for an accounting seeks equitable relief. City
Defendant's Motion to Dismiss.                                  of Ridgeland v. Fowler, 846 So.2d 210, 214 (Miss.2003).
                                                                To state such a claim—as with any claim arising in
                                                                equity—a plaintiff must allege an inadequate remedy at
                        B. Accounting                           law. Litton Sys., Inc. v. Frigitemp Corp., 613 F.Supp.
Defendant also argues that Plaintiff is not legally entitled    1386, 1389 (S.D.Miss.1985). “The legal remedy cannot be
to an accounting, and that her claim for one should             characterized as inadequate merely because the measure of
be dismissed. “Motions to dismiss under Rule 12(b)              damages may necessitate a look into ... business records.”
(6) are viewed with disfavor and are rarely granted.”           Id. (quoting Dairy Queen v. Wood, 369 U.S. 469, 478–79,
Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 232 (5th           82 S.Ct. 894, 8 L.Ed.2d 44 (1962)).
Cir.2009) (punctuation omitted). “To survive a Rule 12(b)
(6) motion to dismiss, [a plaintiff's complaint] need only      Plaintiff neither alleged in her Complaint nor argued
include a short and plain statement of the claim showing        in briefing that she has no adequate legal remedy.
that the pleader is entitled to relief.” Hershey v. Energy      Rather, she simply alleged and argued that the escrow
Transfer Partners., L. P., 610 F.3d 239, 245 (5th Cir.2010)     statements provided by Defendant were inaccurate.
(punctuation omitted). However, the “complaint must             Furthermore, Plaintiff has not argued or demonstrated
contain sufficient factual matter, accepted as true, to state   that she would be unable to obtain the same information
a claim to relief that is plausible on its face.” Great Lakes   through the normal discovery process as she pursues a
Dredge & Dock Co. LLC v. La. State, 624 F.3d 201, 210           legal remedy. Accordingly, the Court grants Defendant's
(5th Cir.2010) (punctuation omitted).                           Motion to Dismiss with respect to Plaintiff's request for
                                                                an accounting.
“To be plausible, the complaint's factual allegations must
be enough to raise a right to relief above the speculative


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                                                                  Plaintiff's claim that Defendant improperly force-placed
             C. Forced–Placement of Insurance                     insurance could also be construed as a breach of contract
In her Complaint, Plaintiff alleges that Defendant                claim. Plaintiff alleged that Defendant is a successor-in-
improperly force-placed insurance on her home when she            interest to her original lender, which was a party to the
had already obtained insurance and provided the requisite
                                                                  deed of trust. The deed of trust [3–2] 1 required that
notice to Defendant. She also alleged that Defendant
                                                                  Plaintiff “shall keep the improvements now existing or
purchased insurance with coverage that exceeded the
                                                                  hereafter erected on the Property insured against loss ...”
amount of the mortgage, and that Defendant purchased
                                                                  in the amounts and for the periods that the lender requires.
the insurance from an entity with which it maintains a
                                                                  If Plaintiff fails to maintain sufficient insurance coverage,
financial arrangement through which it profits from force-
                                                                  then the lender “may obtain insurance coverage, at
placing insurance. In the Court's estimation, Plaintiff's
                                                                  Lender's option and [Plaintiff's] expense. Lender is under
claim for “Improper Forced–Placement of Insurance”
                                                                  no obligation to purchase any particular type or amount
could be construed as either a claim for breach of fiduciary
                                                                  of coverage.” Plaintiff acknowledged, by executing the
duty or a claim for breach of contract.
                                                                  deed of trust, that “the cost of the insurance coverage so
                                                                  obtained might significantly exceed the cost of insurance
               1. Breach of Fiduciary Duty                        that [Plaintiff] could have obtained.”
The Mississippi Supreme Court has “never held that
the relationship between a mortgagor and a mortgagee              Plaintiff plainly alleged that Defendant force-placed
is a fiduciary one.” Hopewell Enters. v. Trustmark                insurance when Plaintiff had already obtained sufficient
Nat'l Bank, 680 So.2d 812, 816 (Miss.1996). Generally,            coverage. The deed of trust does not permit Defendant to
“the relationship between a debtor and creditor is a              do this. Therefore, to the extent Plaintiff alleges a breach
contractual one, and not a confidential or fiduciary              of contract, Plaintiff has plead sufficient facts to survive
one.” Id. (punctuation omitted). “At best, ... a mortgagor        a Rule 12(b)(6) motion. Accordingly, the Court denies
and mortgagee are in a relationship of trust[,] and ...           Defendant's Motion to Dismiss as to that claim.
a mortgagee should not be allowed to abuse that
relationship .” Id. Therefore, the Mississippi Supreme
                                                                                         D. Harassment
Court has held:
                                                                  Plaintiff claims that Defendant “harassed” her by sending
            Although        every     contractual                 collection letters, monthly statements, and default notices
            agreement does not give rise                          in an effort to force her to pay amounts improperly
            to a fiduciary relationship, such                     charged to her escrow account. Plaintiff did not plead
            relationship may exist under the                      a cause of action under the Fair Debt Collection
            following circumstances: (1) the                      Practices Act (“FDCPA”), 2 and Plaintiff failed to cite
            activities of the parties go beyond                   any Mississippi law regarding a cause of action for
            their operating on their own behalf,                  harassment of the sort alleged here. 3 Accordingly, the
            and the activities for the benefit of                 Court grants Defendant's Motion to Dismiss as to
            both; (2) where the parties have a                    Plaintiff's harassment claim.
            common interest and profit from
            the activities of the other; (3) where
            the parties repose trust in one                                    E. Attempted Improper Foreclosure
            another; and (4) where one party has                  Plaintiff claims that Defendant force-placed insurance on
            dominion or control over the other.                   her property for the purpose of driving up her monthly
                                                                  mortgage payment so she could not afford to pay it.
 *4 Id. Plaintiff has not alleged sufficient facts to establish   Plaintiff alleges that Defendant wanted to foreclose on
the factors cited above. Accordingly, to the extent Plaintiff     the property because it is worth more than the loan.
alleges a breach of fiduciary duty, the Court grants              Accordingly, Plaintiff contends that Defendant attempted
Defendant's Motion to Dismiss as to that claim.                   to improperly foreclose on her property.


                   2. Breach of Contract


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Plaintiff has failed to cite any Mississippi law regarding            • the Court denies the motion with respect to
a cause of action for attempted wrongful foreclosure. It                Defendant's mootness argument;
does not appear that such a cause of action exists. The
Mississippi Supreme Court has affirmed that there must                • the Court grants the motion with respect to Plaintiff's
actually be a foreclosure before a plaintiff can assert a                request for an accounting;
claim of wrongful foreclosure. See McKinley v. Lamar
Bank, 919 So.2d 918, 930 (Miss.2005). It is undisputed                • the Court grants the motion with respect to any claim
that Defendant never foreclosed on Plaintiff's property,                 for breach of fiduciary duty asserted by Plaintiff;
and Plaintiff has failed to point to any Mississippi law
                                                                      • the Court denies the motion with respect to any claim
imposing liability for merely threatening foreclosure.
                                                                         for breach of contract asserted by Plaintiff;
Accordingly, the Court grants Defendant's Motion to
Dismiss with respect to this claim.                                   • the Court grants the motion as to Plaintiff's
                                                                        harassment claim; and

                        F. Venue                                      • the Court grants the motion as to Plaintiff's attempted
 *5 Plaintiff is a resident of Pearl River County,                       wrongful foreclosure claim.
Mississippi, and the property at issue in this case is
located in Pearl River County. The parties argue that              The Court also grants the parties' Joint Motion to Transfer
this case should be transferred to the Southern Division           Venue [12]. Accordingly, this case shall be transferred to
of this Court. The Court agrees. 28 U.S.C. § 1391(b)(2).           the Southern Division
Accordingly, the Court grants the parties' Joint Motion to
Transfer Venue [12], and this case shall be transferred to         SO ORDERED AND ADJUDGED.
the Southern Division. 28 U.S.C. § 1406(a).

                                                                   All Citations

                   III. CONCLUSION                                 Not Reported in F.Supp.2d, 2012 WL 37393

For the reasons stated above, the grants in part and denies
in part Defendant's Motion to Dismiss [3]. Specifically:


Footnotes
1      The Court may “permissibly refer to matters of public record” when deciding a 12(b)(6) motion to dismiss. Cinel v. Connick,
       15 F.3d 1338, 1343 n. 6 (5th Cir.1994).
2      15 U.S.C. § 1692, et al.
3      Some authority exists for the proposition that a debtor should not be subjected to multiple lawsuits for recovery of a single
       debt. See e.g. Paramount Ins. Co. v. Parker, 112 So.2d 560, 562 (Miss.1959); Chapman v. Hughes, 61 Miss. 339, 350
       (Miss.1883). Those cases are inapplicable here. The only lawsuit involved in this dispute is the present one, which was
       initiated by Plaintiff herself.


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